













In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-09-00356-CR
____________

RAY LEWIS SMITH, JR., Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 337th District Court 
Harris County, Texas
Trial Court Cause No. 1197764



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We lack jurisdiction to hear this appeal.  Appellant, Ray Lewis Smith, Jr.,
pleaded guilty to the third degree felony offense of theft, and, in accordance with his
plea bargain agreement with the State, the trial court sentenced appellant to
confinement for three years.  Along with the plea, appellant, appellant’s counsel, and
the State signed a stipulation of evidence which included, among others, the
following statements: “I intend to enter a plea of guilty and understand that the
prosecutor will recommend that my punishment should be set at three years TDC; I
agree to that recommendation . . .  Further, I waive my right of appeal which I may
have should the court accept the foregoing plea bargain agreement between myself
and the prosecutor.”  The trial court’s judgment is stamped, “Appeal waived.  No
permission to appeal granted.”  

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After the trial court sentenced appellant to punishment that fell within the
terms of the plea bargain agreement, the trial court certified that this case is a plea-
bargain case and the defendant has no right to appeal.  Appellant did not request the
trial court’s permission to appeal any pre-trial matters, and the trial court did  not give 
permission for appellant to appeal.   Appellant filed a timely  pro se notice of appeal. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude that the certification of the right of appeal filed by the trial court
is supported by the record and that appellant has no right of appeal due to the agreed
plea bargain.  Tex. R. App. P. 25.2(a).  Because appellant has no right of appeal, we 
must dismiss this appeal “without further action.” Chavez v. State, 183 S.W.3d 675,
680 (Tex. Crim. App. 2006).Accordingly, the appeal is dismissed for lack of jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Any pending motions are denied as moot.
PER CURIAM
Panel consists of Justices Jennings, Alcala, and Higley.
Do not publish. Tex. R. App. P. 47.2(b).


